      Case 3:17-cv-00101-RDM Document 224 Filed 02/15/19 Page 1 of 1




                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

CONSUMER FINANCIAL                       :
PROTECTION BUREAU,                       :
                                         :
                   Plaintiff             :
                                         :
                                         :      3:17-CV-101
            v.                           :      (Judge Mariani)
                                         :
                                         :
NAVIENT CORPORATION, et al.,             :
                                         :
                   Defendants.           :

                          SPECIAL MASTER ORDER #9

     Now, this 15th day of February, 2019, IT IS HEREBY ORDERED THAT:

     1. Plaintiff shall provide the 2010 memo referenced in relation to Plaintiff’s request
        to search the email records of Mr. Bailer as well as pertinent excerpts from Mr.
        Bailer’s deposition and submit written argument on its request for such document
        production from archival media on or before February 21, 2019, and Defendants
        shall file their reply on or before February 28, 2019.

     2. Plaintiff shall supplement its request to search records relating to loan
        securitization on or before February 18, 2019, and Defendants shall respond no
        later than February 22, 2019. Argument on this issue shall be held as part of the
        telephonic status conference on February 26, 2019.


                                         s/ Thomas I. Vanaskie
                                         THOMAS I. VANASKIE
                                         SPECIAL MASTER
